              Case 2:19-cr-00014-MCE Document 34 Filed 04/10/19 Page 1 of 3



 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     916 Street, 2nd Floor
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     ROSE MARIE SEGALE
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )       No. 19-CR-00014-GEB
                                                      )
12                                                    )       STIPULATION AND ORDER FOR
            Plaintiff,                                )       TELECONFERENCE APPEARANCE BY
13                                                    )       DEFENDANT
     v.                                               )
14                                                    )
     ROSE MARIE SEGALE.                               )       Date: April 17, 2019
15                                                    )       Time: 2:00 pm.
                                                      )       Judge: Honorable Kendall J. Newman
16
            Defendants.                               )
                                                      )
17                                                    )
                                                      )
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19
            IT IS HEREBY stipulated between the United States of America through its undersigned
20
     counsel, Miriam Hinman, Assistant United States Attorney, attorney for plaintiff, and Kyle
21
     Knapp, attorney for defendant Rose Marie Segale that the defendant be allowed to appear via
22
     teleconference from the pretrial services office in the Federal courthouse in Fresno, California for
23
     the April 17, 2019 status conference regarding treatment. Her pretrial services officer, Steven
24
     Sheehan, joins in this request. Ms. Segale is currently in a program located in Fresno, California
25
     and she has arranged transportation to the pretrial services office on April 17, 2019.
26
     //
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     //
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              Case 2:19-cr-00014-MCE Document 34 Filed 04/10/19 Page 2 of 3



 1   IT IS SO STIPULATED.
 2
     Dated: April 9, 2019                             McGREGOR W. SCOTT
 3                                                    UNITED STATES ATTORNEY

 4                                              by:   /s/ Miriam Hinman
                                                      MIRIAM HINMAN
 5
                                                      Assistant U.S. Attorney
 6                                                    Attorney for Plaintiff

 7   Dated: April 9, 2019                             /s/ Kyle R. Knapp
 8
                                                      KYLE KNAPP
                                                      Attorney for Defendant
 9                                                    ROSE MARIE SEGALE
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              Case 2:19-cr-00014-MCE Document 34 Filed 04/10/19 Page 3 of 3



 1                                              ORDER
 2          The Stipulation of the parties is hereby accepted and the defendant’s request for a
 3   telephonic appearance on April 17, 2019, is GRANTED. Magistrate Judge Newman’s
 4   courtroom deputy will provide counsel and pretrial services the instructions to appear by
 5   telephone.
 6
            IT IS SO ORDERED.
 7
     Dated: April 9, 2019
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